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                            Exhibit 6
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                           October 13, 2023

                           Independent Monitoring Team
                           c/o Maggie Hickey, Independent Monitor
                           233 South Wacker Drive, Suite 7100
                           Chicago, IL 60606
                           Maggie.Hickey@afslaw.com

                           Office of the Attorney General of Illinois
City of Chicago            c/o Christopher Wells, Chief of Public Interest Division
Brandon Johnson, Mayor     100 West Randolph Street, 12th Floor
                           Chicago, IL 60601
                           Christopher.Wells@ilag.gov
Department of Law
Mary Richardson-Lowry,     VIA EMAIL
Corporation Counsel
                                  RE:         State of Illinois v. City of Chicago, 17 cv 6260
                                              Response to Conditional No Objection Notices
121 North LaSalle Street                      regarding CPD BWC Policy (S03-14)
Suite 600
Chicago, Illinois 60602
(312) 744-0220
                           The City requests that the entirety of this production be afforded confidential
(312) 744-5185 fax         treatment under the Freedom of Information Act (“FOIA”), 5 U.S.C. Section 552,
                           the Illinois Freedom of Information Act, 5ILCS 140/1 and other applicable law,
www.cityofchicago.org      rule or regulation. As the production of these materials is subject to the
                           confidentiality orders entered in the above-captioned case, such production is not
                           intended to, and does not, waive any applicable privilege, work product protection
                           or other legal protection. Any transmission of protected information shall be
                           considered inadvertent and covered by the Order of the District Court under
                           Federal Rule of Evidence 502(d). Finally, the materials may contain confidential
                           information covered by the Illinois Juvenile Court Act, which are being provided
                           subject to the requirements of Administrative Special Order 19-04 entered by the
                           Circuit Court of Cook County, Illinois, on April 25, 2019.

                           IMT and OAG:

                                   On June 15, 2023, the City and CPD produced the latest draft of CPD’s
                           Body Worn Camera Policy (S03-14) and related documents. The OAG and IMT
                           provided written comments to the City on July 26, 2023, and August 6, 2023,
                           respectively. In addition to the written comments, both the IMT and OAG
                           requested a meeting to discuss the policy revisions and timelines. On August 25,
                           2023, the City submitted a written response to certain comments made by the IMT
                           and OAG. On September 12, 2023, during the IMT’s site visit, members of the
                           IMT, CPD, and the OAG met to discuss the outstanding issues related to S03-14.
                           Following that discussion, the IMT provided a “Conditional No Objection” to the
                           policy on October 5, 2023. On October 6, 2023, the OAG provided a
                           “Conditional No Objection” to the policy. Neither “Conditional No Objection
                                          121 NORTH LASALLE STREET * SUITE 600
                                                  CHICAGO, ILLINOIS 60602
                                        Jenifer.Bagby@CityofChicago.Org (312)742-6408
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Notice” resolved the outstanding issues raised by the IMT and OAG and the City’s written responses.
One of the conditions raised by the IMT was that the City continue to work with the OAG to resolve
the outstanding issue related to the “Public Safety Questions.” One of the conditions raised by the
OAG was that the City present the “Public Safety Question” issue to the Court at the scheduled
November status hearing. Based upon these conditions, the City believes that outstanding objections
exist regarding the policy that require resolution by the IMT under the Consent Decree.
       Consent Decree paragraphs 627 – 630 set forth the process by which CPD policy is to be
reviewed by the IMT and OAG and the process to be followed to resolve identiﬁed objections.
Speciﬁcally, Consent Decree paragraph 630 states the following:
               In the event the Monitor or OAG provides an objection notice, the
               Monitor will convene the Parties and attempt to resolve the identiﬁed
               objections within 30 days of the objection notice being received by the
               City (“workout period”). The Monitor will issue a proposed resolution
               of remaining objections in writing at the conclusion of the workout
               period. If either Party disagrees with the Monitor’s resolution of an
               objection, either Party may ask the Court to resolve such dispute.
               Subject to the limited extraordinary circumstances exception set out
               below, CPD will not publish or implement new or revised policies or
               procedures required by this Agreement until the Monitor and OAG
               have reviewed and commented on such policies or procedures, or until
               the workout period and related resolution processes have occurred.
       The City and CPD believe that the meeting requirement of paragraph 630 occurred on
September 12, 2023 during the site visit. At this time, the City and CPD request that the IMT issue a
proposed resolution of the remaining objections as dictated by paragraph 630.
        The City and CPD recognize the importance of implementing an updated BWC policy as
expeditiously as possible and appreciate the time and attention that the IMT and OAG have put into
reviewing this policy to allow for the implementation of S03-14 as soon as possible. Because of the
importance of this policy to Department Members and the public, the City and CPD wish to move
on parallel tracks of resolving the outstanding issues pursuant to paragraph 630 and posting the
existing version of the policy for public comment so that the policy can be implemented before the
end of the year.
       Please feel free to contact me with any questions or concerns.


                                              Sincerely,

                                              /s/ Jennifer K. Bagby
                                              Deputy Corporation Counsel
                                              City of Chicago Department of Law
                                              Public Safety Reform Division

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                            CHICAGO, ILLINOIS 60602
                  Jennifer.Bagby@CityofChicago.org (312)742-6408
